 Case 2:12-cr-00012-PLM             ECF No. 77, PageID.145        Filed 08/02/12     Page 1 of 2




                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION




UNITED STATES OF AMERICA,

                       Plaintiff,                    Case No. 2:12-cr-12-04

v.                                                   HON. R. ALLAN EDGAR

MARIANN RENAY WOOD,

                  Defendant.
____________________________________/


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on August 2, 2012, after receiving the written consent of defendant and all counsel. At the

hearing, defendant MARIANN RENAY WOOD entered a plea of guilty to Count 1 of the

Indictment, charging defendant with Conspiracy to Distribute and Possess with Intent to Distribute

100 Grams or More of a Mixture or Substance Containing a Detectable Amount of Heroin and a

Mixture or Substance Containing a Detectable Amount of Cocaine Base (Crack Cocaine) in violation

of 21 U.S.C. Sections 846, 841(a)(1), 841(b)(1)(B)(i) and 841(b)(1)(C), in exchange for the

undertakings made by the government in the written plea agreement. On the basis of the record

made at the hearing, I find that defendant is fully capable and competent to enter an informed plea;

that the plea is made knowingly and with full understanding of each of the rights waived by

defendant; that it is made voluntarily and free from any force, threats, or promises, apart from the
 Case 2:12-cr-00012-PLM           ECF No. 77, PageID.146             Filed 08/02/12     Page 2 of 2




promises in the plea agreement; that the defendant understands the nature of the charge and penalties

provided by law; and that the plea has a sufficient basis in fact.

               I therefore recommend that defendant's plea of guilty to Count 1 of the Indictment be

accepted, that the court adjudicate defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. It is further recommended that defendant

remain detained pending sentencing. Acceptance of the plea, adjudication of guilt, acceptance of

the plea agreement, determination of defendant's status pending sentencing, and imposition of

sentence are specifically reserved for the district judge.



Date: August 2, 2012                                    /s/ Timothy P. Greeley
                                                       TIMOTHY P. GREELEY
                                                       United States Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than fourteen days after the plea hearing. See
W.D. MICH . L.CR.R. 11.1(d).




                                                 -2-
